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                                         No. 23-4760


                    In the United States Court of Appeals
                            for the Fourth Circuit

                                  UNITED STATES OF AMERICA,

                                                             Appellee,

                                               v.

                                       TIMOTHY MANN,

                                                             Appellant.


                    On Appeal from the United States District Court
                       for the Eastern District of North Carolina
                             Case No. 5:23-cr-00014-M-KS-1


                              Appellant’s Opening Brief


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                            STATEMENT OF JURISDICTION

              This is an appeal from a final judgment of conviction in the United

        States District Court for the Eastern District of North Carolina. See

        United States v. Mann, No. 5:23-cr-00014-M-KS-1 (E.D.N.C. Nov. 30,

        2023). The district court’s subject matter jurisdiction was derived from

        18 U.S.C. § 3231.

              The district court entered its judgment on November 30, 2023.

        JA210–216. Appellant timely noted this appeal on December 12, 2023.

        JA217, JA226; see Fed. R. App. P. 4(b)(1)(A). This Court has jurisdiction

        by virtue of 28 U.S.C. § 1291.

                              STATEMENT OF THE ISSUE

        I.    Whether the district court plainly erred in finding that Mann’s
              guilty plea was supported by a sufficient factual basis.

                              STATEMENT OF THE CASE

              A.   Offense Conduct

              Around    May       2021,    Appellant      Timothy     Mann   (hereinafter

        “Appellant” or “Mann”) and an individual resident of North Carolina

        (hereinafter “D.E.”) began extensively conversing via Instagram and

        other electronic communication platforms; over the following months,

        Mann and D.E. became close friends, and Mann moved to North Carolina


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        with D.E.’s encouragement and support.1 JA15, JA154, JA175, JA250,

        JA267. Mann was born and raised in extremely adverse circumstances

        and had successfully obtained an associate's degree and stable

        employment in Brooklyn, New York despite the physical and mental

        health challenges that resulted from his background and upbringing. See

        JA176–177, JA250, JA263–267, JA271–276. Nevertheless, Mann saw

        his friendship with D.E. as one of genuine mutual trust, and his move to

        North Carolina as an opportunity for a fresh start. JA175, JA267.

              However, the relationship between Mann and D.E. deteriorated

        between August 2021 and January 2022, although the parties differ

        regarding the original cause of the conflict.        JA15, JA154, JA267.




        1     At the outset, Mann respectfully notes that the timeline of relevant
              offense conduct in this case is unclear and/or inconsistent
              throughout the factual allegations considered by the district court,
              due largely to the fact that the majority of those allegations stem
              exclusively from uncorroborated statements by D.E., Mann, and
              others to law enforcement. The following summary represents
              undersigned counsel’s best understanding of the relevant sequence
              of events based on the limited information set forth in the Joint
              Appendix and on the district court docket.
              Mann also notes that the sentencing proceedings in the district
              court provide additional detail regarding the individuals whose
              names have been redacted throughout this Opening Brief, as well
              as regarding Mann himself. See generally JA160–208, JA248–304.

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        Mann and D.E. each publicly accused the other of displaying homosexual

        inclinations and/or behavior, which significantly intensified their conflict

        and mutual hostility. See JA175–176, JA184, JA282. This culminated

        with two physical confrontations—in January 2022, which resulted in

        some damage to D.E.’s personal vehicle, and in March 2022, which

        resulted in severe physical injuries to Mann—although the record

        contains no evidence indicating that Mann ever committed any direct

        violence or injury against D.E. or any other alleged victim. See JA15,

        JA169–170, JA175, JA193–194, JA250, JA267–268, JA277.

              Following these confrontations, D.E. and his mother, also an

        individual resident of North Carolina (hereinafter “Q.H.”), began to

        communicate even more aggressively with Mann, demanding further

        financial contributions from him and threatening further physical

        violence against him if he did not comply with their demands and/or

        otherwise terminate his relationship with their family. 2        See JA15,




        2     Mann respectfully notes that, although D.E. and Q.H. denied
              sending some of these communications, they admitted that they
              sent the majority of the relevant messages, and that the messages
              they denied had, in fact, been sent from their respective social
              media accounts and phone numbers. See JA183–185, JA190–191.

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        JA169–170, JA175–176, JA183–185, JA251, JA268, JA278–280.              In

        response, Mann sent D.E. and Q.H. an extensive series of digital

        messages—using several different accounts on a variety of social media

        and   electronic   communication     platforms—threatening     retaliatory

        violence against them and their family if they did not cease their ongoing

        harassment campaign, which allegedly caused D.E. and Q.H. to suffer

        “substantial emotional distress.” JA16–21, JA155–156, JA170, JA175–

        176, JA186–187, JA250–251; see also JA177 (Mann’s statement that he

        “was not gonna come down here and do anything to them.”). Mann

        eventually returned to Brooklyn, but the parties continued to exchange

        intensely insulting and/or threatening messages between January 2022

        and April 2023, including while the instant charges were pending in the

        district court below. See generally JA16–21, JA175–177, JA251.

              B.   Indictment and Preliminary Proceedings

              In December 2022, the Government filed a Complaint alleging

        probable cause that Mann’s behavior constituted cyberstalking pursuant

        to 18 U.S.C. § 2261A(2). JA12–22. In January 2023, the Grand Jury for

        the Eastern District of North Carolina returned an Indictment charging

        Mann with two counts of using “electronic mail and internet social media



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        applications[ ] to engage in a course of conduct that caused substantial

        emotional distress” to D.E. and Q.H., respectively, “with the intent to

        injure, harass, and intimidate,” in violation of 18 U.S.C. § 2261A(2).

        JA228–229. Mann waived his right to preliminary hearings, and the case

        was transferred from the United States District Court for the Eastern

        District of New York (hereinafter the “E.D.N.Y.”) to the United States

        District Court for the Eastern District of North Carolina (hereinafter the

        “district court” or the “E.D.N.C.”), pursuant to Fed. R. Crim. P. 5(c)(3).

        JA23–36; see also JA50, JA230.

              The district court initially appointed counsel to represent Mann,

        JA39, and appointed substitute counsel when Mann’s first trial counsel

        moved to withdraw, JA86–88, JA91, JA114. The court also entered a

        protective order regarding personal identifying information in the

        relevant discovery materials, at the Government’s request. JA127–131,

        JA135–136.      In January, February, March, April, May, June, and

        July 2023, Mann moved to continue the proceedings, without opposition

        from the Government; each time, the district court granted the motion

        (at least in part) and excluded the resultant time for purposes of the

        Speedy Trial Act, 18 U.S.C. § 3161 et seq. JA40–43, JA51–54, JA55–58,


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        JA79–84, JA115–117, JA124–126, JA132–134; see JA4, JA6–8 (text

        orders dated February 14, March 15, May 2, June 12, and July 18, 2023);

        see also 18 U.S.C. § 3161(h)(7), (8).

              In the meantime, the district court adopted the pretrial release

        order that had been initially entered by the E.D.N.Y., see JA37–38, and

        entered specific additional conditions, JA46–49. In March 2023, Mann

        was arrested for allegedly violating those conditions, and the

        accompanying proceedings were again transferred from the E.D.N.Y. to

        the E.D.N.C. JA59, JA60–76, JA77–78, JA85. When Mann failed to

        appear for the scheduled hearing regarding revocation of his pretrial

        release in North Carolina, he was once more arrested in New York and

        transferred to the jurisdiction of the district court below.       JA89–90,

        JA92–113, JA231. Mann waived his right to preliminary, detention, and

        revocation hearings, JA118–121, and the court ordered that he be

        detained pending trial. JA122–123.

              C.    Mann’s Guilty Plea

              At Mann’s arraignment in August 2023, the district court reviewed

        the trial and civil rights that would be waived with a guilty plea and

        explained       the   sentencing   process.       JA138–145,     JA151–152.



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        Mann initially indicated that he intended to plead not guilty, see JA138,

        but following the court’s overview of rights and the sentencing process,

        he abruptly elected to instead plead guilty to both charges without a

        written plea agreement, see JA146.         Accordingly, the district court

        proceeded to conduct a plea colloquy pursuant to Fed. R. Crim. P. 11. See

        generally JA146–157.

              The district court placed Mann under oath and confirmed that he

        was competent to proceed, had discussed the charges with his second

        appointed trial counsel, and was satisfied with his representation. 3

        JA146–149.      The court explained the nature of the charges and the

        potential penalties, specifically noting each element and statutory

        maximum sentence provided by 18 U.S.C. § 2261A(2). JA149–151. The

        court also confirmed that Mann’s plea was not the result of any threats

        or promises and that Mann had answered each of its questions truthfully.

        JA151–152.      The court ultimately concluded that Mann’s plea was

        competent, knowing, and voluntary. JA157.



        3     Counsel acknowledged Mann’s “history of mental health issues”
              and highlighted that topic as potentially relevant to sentencing, but
              both counsel and Mann himself repeatedly attested that Mann was
              competent to proceed. JA147–148.

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              In the absence of a written plea agreement, the district court

        instructed the Government to “proffer . . . the facts the United States

        would be prepared to prove at trial” as a factual basis for the plea. JA154.

        In response, the Government stated that there was “hostility” between

        D.E. and Mann; that Mann sent “violent and threatening” messages to

        D.E. and Q.H., including six specific examples; and that this caused D.E.

        and Q.H. to suffer “substantial emotional distress” and “reasonable fear

        of their life, or at the very least, serious bodily injury.” JA154–156. Mann

        declined to dispute any element of the factual basis as set forth by the

        Government. JA156–157. The court concluded that “[i]n light of the plea

        of guilty and the [Government’s] proffer,” there was “an independent

        basis in fact as to each of the essential elements of the offense,” and

        accepted Mann’s guilty plea. JA157; see JA152–154.

              D.   Sentencing Proceedings

              In light of Mann’s objections to the draft presentence investigation

        report, see JA232–247, the final presentence report (the “PSR”)

        calculated a total offense level of 23, based on a base offense level of 18

        pursuant to UNITED STATES SENTENCING GUIDELINES (“U.S.S.G.”)

        § 2A6.2(a); a 4-level enhancement for an alleged “pattern of activity



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        involving stalking, threatening, harassing, or assaulting the same

        victim,” pursuant to U.S.S.G. § 2A6.2(b)(1); a 2-level enhancement for

        obstruction of justice based on Mann’s violations of pretrial release,

        pursuant to U.S.S.G. § 3C1.1; a 2-level grouping adjustment based on the

        two charges to which Mann pleaded guilty, pursuant to U.S.S.G. § 3D1.4;

        and a 3-level reduction for acceptance of responsibility, pursuant to

        U.S.S.G. § 3E1.1(a), (b). JA256–257. The PSR also calculated a criminal

        history category of I, JA252, resulting in an advisory Sentencing

        Guidelines range of 46 to 57 months’ imprisonment and 1 to 3 years’

        supervised release, as well as the applicable fines and restitution,

        JA258–259. Neither Mann nor the Government objected to the final PSR.

        JA261.

              Mann requested a downward variance sentence, noting his

        extremely challenging personal background, his strong education and

        employment record, and his personal health challenges, as well as the

        complicated,    reciprocal,   and   rapidly       escalating       nature   of   the

        interpersonal conflict (between Mann, D.E., and Q.H.) underlying the

        offense conduct at issue. JA262–270; see JA271–280 (exhibits supporting

        motion for downward variance); see also JA259 (PSR note that “[t]he


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        court may wish to consider a downward variance based upon the factors

        listed in 18 U.S.C. § 3553(a)”). The Government moved for restitution

        based on the out-of-pocket expenses allegedly incurred by D.E. and Q.H.

        during the relevant time period. See JA281–304.

              At the sentencing hearing, the district court confirmed that Mann

        was competent to proceed, that he had reviewed and understood the PSR,

        and that he had no further objections to the PSR.              JA160–163.

        Accordingly, the court reviewed the material set forth in the PSR and

        adopted it in full, including the advisory Sentencing Guidelines range of

        46 to 57 months’ imprisonment and the recommended special conditions

        of supervised release. JA163–166. Mann’s trial counsel reiterated his

        request for a downward variance sentence, highlighting his traumatic

        upbringing, his mental and physical health struggles and resultant

        difficulty in managing stressful situations, his limited criminal record

        and record of educational and professional success when properly

        supported, and his complicated, mutually hostile relationship with D.E.

        as discussed in detail above. 4       JA166–173; see also JA190–192.



        4     Mann’s trial counsel also discussed his failure to appear for the
              April 2023 revocation hearing along similar lines. See JA173–174.

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        Mann spoke on his own behalf, primarily arguing that his conduct was

        motivated by fear for his own safety and hurt stemming from D.E.’s

        aggressive behavior in the context of a once-trusted relationship; Mann

        also asserted that he intended to move forward from that relationship by

        diligently following the court’s orders and returning to his home and

        career in New York. JA175–178.

              The Government requested a sentence within the advisory

        Guidelines range, on the grounds that Mann’s pattern of electronic

        communications was extremely severe and that Mann had inadequately

        displayed his remorse.    JA183–190.       In particular, the Government

        argued that D.E.’s and Q.H.’s aggressive behavior towards Mann did not

        mitigate the appropriate sentence because the severity of Mann’s conduct

        was entirely independent of the fact that D.E. and Q.H. had simply

        “happen[ed] to get mad and reach their breaking point.” JA183–185.

        Q.H. also spoke on behalf of the alleged victims of Mann’s conduct,

        specifically insisting that the district court should sentence Mann to “the

        max amount of time” statutorily available, “and then some.” JA179–182.

              In light of the parties’ arguments and its consideration of the

        sentencing factors set forth by 18 U.S.C. § 3553(a), the district court


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        broadly decided to “vary downward some,” but with a significant

        escalation of penalties upon Mann’s violation of any of the conditions of

        his supervised release. JA195–196; see generally JA192–199. The court

        specifically acknowledged the difficulty of Mann’s upbringing, but

        declined to enter any findings of fact regarding the nature and extent of

        the mutual escalation of hostilities between Mann, D.E., and Q.H.5

        JA193–194. The court also noted that convictions pursuant to 18 U.S.C.

        § 2261A(2) often involve First Amendment concerns, but that the threats

        in this case fell far outside such territory. JA197. Finally, the court

        analyzed the need for the sentence to reflect the seriousness of the

        offense, protect the public, and provide adequate deterrence, concluding

        that the facts at hand presented “a borderline mental illness case where

        [Mann’s] personal history is such that his inability to grasp and deal with

        the level of confrontation that happened here led to a particularly horrific

        spiral of threat.” JA198–199.




        5     Mann respectfully notes that he continues to dispute many of the
              factual allegations raised by the Government and by Q.H. at the
              sentencing hearing, but that the district court’s specific nonreliance
              on those facts at sentencing ultimately renders them moot. See
              JA193–194.

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              Accordingly, the district court sentenced Mann to 36 months’

        imprisonment and 36 months’ supervised release.                  JA200–201; see

        JA210–212.      The court also articulated and imposed several specific

        conditions of supervised release, describing its reasoning for each as

        appropriate, and ordered restitution as requested by the Government.

        JA202–208, JA213–216. Mann and his second appointed trial counsel

        independently requested appointment of new counsel on appeal and

        timely noted this appeal. JA217–221, JA222–225, JA226; see JA227.

                              SUMMARY OF ARGUMENT

              The breakdown of the relationship between Mann and D.E. is

        unquestionably tragic, and the resultant escalation of threatening

        messages and physical violence presents an unusually complex,

        emotional, and hotly disputed set of facts. Mann respectfully submits

        that his specific intent to “kill, injure, harass, [or] intimidate” D.E. and/or

        Q.H., as required by 18 U.S.C. § 2261A(2) and charged in the Indictment,

        requires a careful and thorough analysis of the available evidence. But

        the Government failed to present that evidence to the district court: its

        proffer of a factual basis made no reference to Mann’s state of mind

        whatsoever, and the record contains extremely limited independently



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        reliable evidence from which the court could have inferred the requisite

        intent.    Therefore, the facts available to the district court were

        insufficient to establish that Mann possessed the requisite specific intent,

        even if taken as true, and Mann was deprived of the opportunity to

        “realiz[e] that his conduct [did] not actually fall within the charge.”

        United States v. Mastrapa, 509 F.3d 652, 660 (4th Cir. 2007). Mann

        respectfully submits that the district court plainly erred in finding that

        his plea was supported by an adequate factual basis, in violation of

        Fed. R. Crim. P. 11(b)(3), and respectfully requests that this Court

        accordingly vacate his conviction and remand for further proceedings.

                                        ARGUMENT

        I.    The district court plainly erred in finding that Mann’s guilty
              plea was supported by a sufficient factual basis, pursuant to
              Fed. R. Crim. P. 11(b)(3) and 18 U.S.C. § 2261A(2).

              A.    Standard of Review

              This Court ordinarily “review[s] a finding of a factual basis for a

        guilty plea for abuse of discretion.”              United States v. Thomas,

        367 F.3d 194, 197 (4th Cir. 2004). However, this Court applies plain

        error review to claims that were not properly preserved in the

        proceedings below.        Fed. R. Crim. P. 52(b); United States v. Olano,

        507 U.S. 725, 731 (1993); see United States v. McCoy, 895 F.3d 358, 364

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        (4th Cir. 2018) (concluding that “[b]ecause [the defendant] didn’t seek to

        withdraw his guilty plea in the district court, [this Court] review[s] his

        challenge for plain error”). 6

              To establish plain error, a party must establish that an error

        (1) was made, (2) is plain (i.e., clear or obvious), and (3) affected its

        substantial rights. United States v. Massenburg, 564 F.3d 337, 342–43

        (4th Cir. 2009).    Then, this Court must consider whether the error

        “seriously affects the fairness, integrity, or public reputation of judicial

        proceedings.”      Id.    at 343     (internal       quotation    marks   omitted).

        Nevertheless, this Court has not construed the plain error standard as a

        categorical bar against a defendant’s challenge to the validity of the

        factual basis supporting a guilty plea.              After all, “even valid appeal

        waivers do not bar claims that a factual basis is insufficient to support a




        6     Mann acknowledges that, although the parties ultimately engaged
              in a detailed discussion regarding the underlying facts, including
              Mann’s state of mind, in connection with the subsequent sentencing
              proceedings, see JA160–208, JA248–304, these arguments are
              likely inadequate to preserve a challenge to the factual basis
              supporting his guilty plea for purposes of direct appeal. See United
              States v. Stitz, 877 F.3d 533, 536 (4th Cir. 2017) (citing Florida v.
              Nixon, 543 U.S. 175, 187 (2004), and Kercheval v. United States,
              274 U.S. 220, 223 (1927)).

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        guilty plea.” McCoy, 895 F.3d 358, 364 (4th Cir. 2018); compare United

        States v. Willis, 992 F.2d 489, 490 (4th Cir. 1993) (citing Parker v. Ross,

        470 F.2d 1092, 1093 (4th Cir. 1972), and United States v. Freed,

        688 F.2d 24, 25 (6th Cir. 1982)).

              B.   Legal Standard

              Rule 11 of the Federal Rules of Criminal Procedure requires that

        “before entering judgment on a guilty plea, the court must determine that

        there is a factual basis for the plea.”          Fed. R. Crim. P. 11(b)(3).

        Rule 11(b)(3) “ensures that the court make clear exactly what a

        defendant admits to, and whether those admissions are factually

        sufficient to constitute the alleged crime.” United States v. DeFusco,

        949 F.2d 114, 120 (4th Cir. 1991) (citing United States v. Fountain,

        777 F.2d 351, 355 (7th Cir. 1985), cert. denied, 475 U.S. 1029 (1986)).

        “The requirement to find a factual basis is designed to protect a

        defendant who is in the position of pleading voluntarily with an

        understanding of the nature of the charge but without realizing that his

        conduct does not actually fall within the charge.” Mastrapa, 509 F.3d

        at 660 (internal quotation marks omitted); accord McCarthy v. United

        States, 394 U.S. 459, 467 (1969).



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              This Court has generally adopted a deferential approach to the

        sufficiency of the factual basis supporting a guilty plea on direct appeal.

        For example, this Court has recognized that even “a bare recitation of the

        facts will satisfy Rule 11 so long as it establishes the elements of the

        offense.” McCoy, 895 F.3d at 365 (citing DeFusco, 949 F.2d at 120); see

        United States v. Stitz, 877 F.3d 533, 536–37 (4th Cir. 2017) (citing United

        States v. Ketchum, 550 F.3d 363, 367 (4th Cir. 2008), and United States

        v. Wilson, 81 F.3d 1300, 1308 (4th Cir. 1996)); see also United States v.

        Mitchell, 104 F.3d 649, 652 (4th Cir. 1997) (citing United States v.

        Morrow, 914 F.2d 608, 611 (4th Cir. 1990)) (noting that the factual basis

        must support a “conclusion that the defendant committed all of the

        elements of the offense”).

              Similarly, “[t]he district court is not required to replicate the trial

        that the parties sought to avoid, or to rely only on the Rule 11 plea

        colloquy.” Ketchum, 550 F.3d at 366. Instead, the court “need only be

        subjectively satisfied that there is a sufficient factual basis for a

        conclusion that the defendant committed all of the elements of the

        offense.”   Stitz, 877 F.3d at 536 (quoting Mitchell, 104 F.3d at 652).

        Accordingly, this Court has held that “the trial court has wide discretion


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        when determining whether a factual basis exists,” and “may conclude

        that a factual basis exists from anything that appears on the record.”

        DeFusco, 949 F.2d at 120; see Ketchum, 550 F.3d at 366–67; see also

        United States v. Ewing, 957 F.2d 115, 120 (4th Cir. 1992) (noting that

        “[p]roof of scienter, like any mental state, necessary must be . . . by

        inference,” and rejecting “a requirement that all such subjective mental

        states be proved by direct evidence or uncontroverted, unrecanted

        confessions of guilt”).

              But whether derived from a stipulation of facts or from record

        evidence more broadly, the available evidence must be “precise enough to

        satisfy the judge of the factual basis for” each element required by a

        defendant’s guilty plea.     Wilson, 81 F.3d at 1308 (citing DeFusco,

        949 F.2d at 120; United States v. Pinto, 838 F.2d 1566, 1569 (11th

        Cir. 1988); and United States v. Guichard, 779 F.2d 1139, 1146 (5th Cir.),

        cert. denied, 475 U.S. 1127 (1986)). Mann respectfully submits that this

        principle is consistent with the broader purposes of the factual basis

        requirement set forth in Rule 11.      As the U.S. Supreme Court has

        specifically concluded, if “the district judge resorts to ‘assumptions’ not

        based upon recorded responses to his inquiries” with regard to any


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        element of the charged offense, then the factual record accompanying the

        resultant conviction will lack a reliable “determination of [the] guilty

        plea’s voluntariness,” both on direct appeal and on “any subsequent post-

        conviction proceeding based upon a claim that the plea was involuntary.”

        McCarthy, 394 U.S. at 467.

              C.   Elements of 18 U.S.C. § 2261A(2)

              Both of the charges to which Mann pleaded guilty alleged a

        violation of 18 U.S.C. § 2261A(2).          JA228–229.      Accordingly, the

        Government was required to proffer evidence that, if true, would

        establish Mann’s guilt on each of the four distinct mandatory elements of

        that offense.   First, Mann must have used facilities of interstate

        commerce, including an “interactive computer service” or “electronic

        communication service.”      18 U.S.C. § 2261A(2); see United States v.

        Davis, 801 F. App’x 80, 87 (4th Cir. 2020). Second, Mann must have

        engaged in a “course of conduct,” which this Court and the statutory

        framework have defined as “a pattern of conduct composed of 2 or more

        acts, evidencing a continuity of purpose.”        18 U.S.C. § 2261A(2); see

        18 U.S.C. § 2266(2); see also United States v. Shrader, 675 F.3d 300, 310

        (4th Cir. 2012); Davis, 801 F. App’x at 87.



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              Third, Mann’s conduct must have placed the two identified victims

        “in reasonable of [ ] death [ ] or serious bodily injury,” or have “cause[d],

        attempt[ed] to cause, or [ ] be[en] reasonably expected to cause

        substantial emotional distress” among those individuals.           18 U.S.C.

        § 2261A(2)(A), (B); see Shrader, 675 F.3d at 310.          In assessing this

        element, this Court considers whether “[a] rational trier of fact could find

        that” the offense conduct “would be reasonably expected to cause

        substantial emotional distress.” Davis, 801 F. App’x at 87–88; see also

        United States v. Anderson, 700 F. App’x 190, 192 (4th Cir. 2017).

              Fourth, and most importantly, Mann must have possessed “the

        intent to kill, injure, harass, intimidate, or place under surveillance with

        intent to kill, injure, harass, or intimidate” each of D.E. and Q.H., as

        alleged in the Indictment. 18 U.S.C. § 2261A(2); see Shrader, 675 F.3d

        at 309–10. This Court has explicitly identified this element as requiring

        proof of the defendant’s specific intent to “kill, injure, harass, [or]

        intimidate” the specific victims charged.        United States v. Bartley,

        711 F. App’x 127, 129 (4th Cir. 2017) (citing United States v. Osinger,

        753 F.3d 939, 941 (9th Cir. 2014), and United States v. Petrovic,

        701 F.3d 849, 860 (8th Cir. 2012)); accord Stitz, 877 F.3d at 536 (citing


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        United     States     v.   Matthews,   209 F.3d 338,     352       (4th   Cir. 2000))

        (highlighting distinction between specific intent element and knowledge

        element in related statute).

              Mann respectfully submits that this Court’s published analysis of

        Constitutional challenges to 18 U.S.C. § 2261A(2) serves to further

        reinforce the central role played by the specific intent element of that

        statute.     For example, in considering arguments that 18 U.S.C.

        § 2261A(2) was unconstitutionally vague, this Court noted “the Supreme

        Court’s instruction that, rather than being a source of fatal vagueness, a

        scienter requirement may mitigation a law’s vagueness,” concluding that

        “[g]iven that the [G]overnment must prove both intent and effect, we

        need not worry that the statute sets an unclear trap for the unwary.”

        Shrader, 675 F.3d at 311 (emphasis added) (internal quotation marks

        omitted) (citing Village of Hoffman Estates v. Flipside, Hoffman Estates,

        Inc., 455 U.S. 489, 499 (1982), and Colautti v. Franklin, 439 U.S. 379,

        395 (1979)); see also Anderson, 700 F. App’x at 192–93. Likewise, in

        considering arguments that 18 U.S.C. § 2261A(2) was unconstitutionally

        overbroad, this Court noted that “this statute does not punish fungible

        acts, such as possession of cocaine in two different receptacles, but rather


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        defines the defendant’s crime . . . in terms of his intent to strike fear in a

        particular individual.”     Shrader, 675 F.3d at 313 (emphasis added)

        (internal citation omitted) (citing United States v. Bennafield,

        287 F.3d 320, 323 (4th Cir. 2002)).

              D.   Specific Intent under 18 U.S.C. § 2261A(2)

              In this case, the factual basis introduced in support of Mann’s guilty

        plea provides a detailed account of Mann’s messages to the alleged

        victims during the relevant period of time, as well as the emotional effects

        of Mann’s conduct on those individuals, but it does not speak to the

        remaining intent element of the cyberstalking offense on which Mann

        was convicted, pursuant to 18 U.S.C. § 2261A(2). JA154–156. Therefore,

        the facts available to the district court in support of Mann’s guilty plea

        were insufficient to establish that he possessed the requisite specific

        intent to “kill, injure, harass, [or] intimidate” D.E. and/or Q.H., even if

        taken as true. See 18 U.S.C. § 2261A(2).

              The factual basis proffered by the Government at Mann’s Rule 11

        hearing was likely adequate to support the district court’s conclusion that

        the first two elements of 18 U.S.C. § 2261A(2)—pertaining to Mann’s

        course of conduct and usage of interstate communication platforms—had



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        been adequately satisfied. See JA155–156 (describing Mann’s pattern of

        correspondence and alleging six examples of digital messages sent from

        Mann to D.E. and Q.H.). Similarly, the Government likely established

        the third element of 18 U.S.C. § 2261A(2)—pertaining to the emotional

        distress experienced, or reasonably expected to be experienced, by the

        alleged victims—by detailing the “violent and threatening” nature of the

        alleged messages and specifically asserting that D.E. and Q.H. were each

        placed in “reasonable fear of their life, or at the very least, serious bodily

        injury from this defendant.” JA154–156. Accordingly, the validity of

        Mann’s guilty plea hinges on whether the factual basis sufficiently

        established that Mann acted with the specific intent to “kill, injure,

        harass, [or] intimidate” D.E. and/or Q.H., as required by the fourth

        element of 18 U.S.C. § 2261A(2).

              Mann respectfully submits that the evidence available at the time

        of his guilty plea fell far short of establishing that element.          The

        Government did not raise any specific factual allegations that would

        support a finding of Mann’s specific intent pursuant to 18 U.S.C.

        § 2261A(2), even if they were taken as true. See JA154–156; see generally

        JA138–157. At most, the factual basis introduced by the Government


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        asserted, without explanation or citation to any particular fact, that some

        of the messages between Mann, D.E., and Q.H. were “violent and

        threatening,” and that there was “hostility” between those individuals.

        JA154–155. The record also contains limited specific indicia from which

        the district court could have even inferred Mann’s state of mind during

        the relevant timeframe, as discussed in further detail below.

              As such, the record fails to establish that Mann engaged in the

        pattern of electronic communications at issue for the specific purpose of

        harming, harassing, or intimidating D.E. and/or Q.H., as required by

        statute and recognized by this Court. See 18 U.S.C. § 2261A(2); Shrader,

        675 F.3d at 310–13. Although “[a] stipulated recitation facts alone” can

        be “sufficient to support a plea,” Ketchum, 550 F.3d at 367, the recitation

        in this case did not establish or even reference every element of the

        charged offenses, unlike in McCoy, 895 F.3d at 365, and DeFusco,

        949 F.2d at 120. JA154–156. Because the Government has the burden

        of establishing specific intent where required as an element of the

        relevant offense, Mann respectfully submits that the record's silence on

        this fact is fatal to the validity of his conviction pursuant to

        Fed. R. Crim. P. 11(b)(3). See, e.g., United States v. Palomino-Coronado,


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        805 F.3d 127, 130 (4th Cir. 2015); see also United States v. Lebowitz,

        676 F.3d 1000, 1013 (11th Cir. 2012).

              Moreover, although the district court “may conclude that a factual

        basis exists from anything that appears on the record,” DeFusco, 949 F.2d

        at 120, the record in this case contains extremely limited material to

        which the court could have referred with regard to Mann’s specific intent.

        More information regarding Mann’s course of conduct in the context of

        his relationships with D.E. and Q.H. came before the district court in the

        sentencing context, see generally JA160–208, JA248–304, but at the time

        of his guilty plea, the evidence before the court was generally limited to

        the statements of probable cause submitted by the Government in

        connection with the Complaint, Indictment, and arrest warrants in this

        case, as well as the allegations presented by the Government as a factual

        basis at the end of the Rule 11 hearing, see, e.g., JA12–22, JA95–98,

        JA154–156, JA228–229, JA231. Given that those materials, in turn,

        were based solely on uncorroborated allegations regarding Mann’s

        intentions that D.E. and Q.H. had made to law enforcement, Mann

        respectfully submits that they carry minimal evidentiary weight with

        regard to his subjective state of mind during the relevant time period.


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              Mann further respectfully submits that the threatening nature of

        the messages themselves, standing alone, presented an inadequate basis

        from which the district court could have inferred the requisite specific

        intent. See, e.g., JA155–156. After all, the hostile nature of the messages

        themselves is already thoroughly captured by the third element of

        18 U.S.C. § 2261A(2), which requires a showing of the alleged victims’

        emotional distress or reasonable expectation thereof. Permitting this

        fact to serve as a proxy for specific intent would effectively eviscerate the

        mens rea requirement of 18 U.S.C. § 2261A(2) as an independent element

        of the underlying crime. After all, “[r]ecalling the presumption against

        strict liability in criminal law, it is critically important to be certain that

        the defendant’s purpose was, in fact,” to accomplish the goals prescribed

        by the relevant statute. United States v. Crandon, 173 F.3d 122, 129 (3d

        Cir. 1999) (citing Morissette v. United States, 342 U.S. 246, 250–63

        (1952)). Therefore, although trial courts are often “presented only with

        circumstantial evidence to show that a defendant acted with purpose,”

        the record does not contain sufficient circumstantial evidence to draw

        such a conclusion in this case. Palomino-Coronado, 805 F.3d at 131.




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              Finally, Mann acknowledges that he repeatedly affirmed his guilt

        on the charges as set forth in the Indictment, and that “[i]n the absence

        of clear and convincing evidence to the contrary, a defendant is bound by

        statements made under oath during his plea colloquy.” McCoy, 895 F.3d

        at 365 (quoting United States v. Bell, 359 F. App’x 442, 444 (4th

        Cir. 2010)); see JA152–154, JA156–157; see also Wilson, 81 F.3d at 1308.

        But Mann respectfully submits that this fact is likewise inadequate to

        support a finding that his plea was supported by an independent factual

        basis, including with regard to the specific intent element of 18 U.S.C.

        § 2261A(2). After all, if a plea of guilty were categorically sufficient to

        establish a factual basis for each element of a charged offense, then the

        requirement of an independent factual basis would be of little import.

              For instance, in this Court’s words, the U.S. Supreme Court has

        specifically held that a defendant’s “admission to [a] factual basis”

        alleging “that he stabbed the victim, killing her[,] didn’t necessarily mean

        that he was admitting to intending to kill the victim.” Kelley v. Bohrer,

        93 F.4th 749, 758 (4th Cir. 2024) (emphasis added) (citing Henderson v.

        Morgan, 426 U.S. 637, 646 (1976)).          Instead, the Government must

        proffer facts that, if true, would independently establish the defendant’s


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        guilt on each element of the charged offense, including any applicable

        specific intent requirements. This may be inferred from a “stipulat[ion]

        to that fact,” an “expl[anation] . . . that [the] plea would be an admission

        of that fact,” or the defendant’s “factual statement or admission

        necessarily implying that he had such intent.”          Henderson, 426 U.S.

        at 646. Here, just as discussed in Kelley and Henderson, the Government

        did not proffer any such evidence, or even make a passing reference to

        Mann’s intentions during the relevant timeframe.

              Accordingly, even if taken as true, the record before the district

        court was insufficient to establish that Mann specifically intended to

        “kill, injure, harass, [or] intimidate” D.E. and/or Q.H. as required by

        18 U.S.C. § 2261A(2), and the court incorrectly concluded that the plea

        was “supported by an independent basis in fact as to each of the essential

        elements of the offense,” in violation of Fed. R. Crim. P. 11(b)(3). JA157.

              E.   Plain Error Analysis

              However, because Mann did not move to withdraw his guilty plea

        in the district court, this Court may only vacate his plea if the district

        court plainly erred in concluding that it was supported by a sufficient

        factual basis. See McCoy, 895 F.3d at 364; Olano, 507 U.S. at 731. As



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        referenced above, this requires that an error (1) was made, (2) is plain

        (i.e., clear or obvious), and (3) affected the defendant’s substantial rights.

        Massenburg, 564 F.3d at 342–43.

              First, “[a]n error is plain, at least, when the error is clear both at

        the time it occurred and at the time of appeal.” United States v. Cedelle,

        89 F.3d 181, 185 (4th Cir. 1996). This Court had explicitly recognized the

        specific intent element of 18 U.S.C. § 2261A(2) at the time of the guilty

        plea in this case, so Mann respectfully submits that the Government’s

        failure to adequately support that element of the charge constitutes

        unambiguous plain error. Shrader, 675 F.3d at 310–13.

              Next, this Court has specifically held that the insufficiency of the

        factual basis “result[s] in a flawed guilty plea that affect[s] [a

        defendant’s] substantial rights.”      Mastrapa, 509 F.3d at 660.       More

        broadly, Mann respectfully notes that, as discussed above, Rule 11’s

        factual basis requirement “is designed to protect a defendant who is in

        the position of pleading voluntarily with an understanding of the nature

        of the charge but without realizing that his conduct does not actually fall

        within the charge.” Mastrapa, 509 F.3d at 660. This statute and this

        case present precisely such a scenario. The parties did not dispute that


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        Mann sent an extensive series of aggressive messages to D.E. and Q.H.,

        but they ultimately differed greatly with regard to Mann’s state of mind

        during the relevant period of time. The Government’s failure to develop

        the record, or even raise relevant allegations, regarding this essential

        element of the crime, as well as the district court’s failure to hold the

        Government to its burden in that regard, deprived Mann of the

        opportunity to “realiz[e] that his conduct [did] not actually fall within the

        charge,” and directly affected his substantial rights.           See McCarthy,

        394 U.S. at 467.

              Finally, Mann respectfully submits that holding a defendant guilty

        without factual support for each element of the relevant offense must

        “seriously affect[ ] the fairness, integrity, or public reputation of judicial

        proceedings.” Massenburg, 564 F.3d at 342–43. “To allow a district court

        to accept a guilty plea from a defendant who did not admit to an essential

        element of guilt under the charge . . . would surely cast doubt upon the

        integrity of our judicial process.”     Mastrapa, 509 F.3d at 661 (citing

        Olano, 507 U.S. at 735–36). Thus, this violation infringed on Mann’s

        autonomy interest in “mak[ing] his own choices about the proper way to

        protect his own liberty.” Weaver v. Massachusetts, 137 S. Ct. 1899, 1907–


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        08 (2017); see also United States v. Dominguez Benitez, 542 U.S. 74, 83

        (2004) (citing Strickland v. Washington, 466 U.S. 668, 694 (1984)). This,

        in turn, inherently affected the fairness, integrity, or public reputation of

        the judiciary, regardless of Mann’s alleged culpability for the underlying

        offenses. Cedelle, 89 F.3d at 186 n.4 (noting that this principle applies

        “even [where] the record demonstrates that the defendant is guilty”).

              Mann submits that the record before the district court was

        insufficient to establish that he was guilty of each element required for

        conviction under 18 U.S.C. § 2261A(2).           Therefore, as this Court has

        noted, “the appropriate remedy in these circumstances is to vacate the

        judgment and remand to the district court for a new Rule 11 proceeding.”

        Mastrapa, 509 F.3d at 661 (citing United States v. Carr, 271 F.3d 172,

        180–81 (4th Cir. 2001)).       Even under plain error review, Mann

        respectfully requests that this Court vacate the district court’s

        acceptance of his guilty plea and remand for a new plea colloquy

        compliant with Fed. R. Crim. P. 11.

                                     CONCLUSION

              For the reasons set forth above, Appellant Timothy Mann

        respectfully requests that this Court vacate his conviction and sentence



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        and remand for a new plea colloquy consistent with Fed. R. Crim. P. 11.

        Mann also respectfully requests oral argument on the issues presented

        herein.

              Respectfully submitted this the 1st day of April, 2024.

                                                   /s/ Ryan M. Gaylord
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                          CERTIFICATE OF COMPLIANCE

              Pursuant to Fed. R. App. P. 32(a)(7)(B), the undersigned certifies

        that the foregoing brief complies with the Court’s word limit as calculated

        using the word count feature of the word processing software.

        Specifically, this Opening Brief contains 6,388 words.               This count

        includes the body of the brief and headings, but does not include the

        caption, signature lines, this certificate, or the certificate of service.

              This the 1st day of April, 2024.

                                                     /s/ Ryan M. Gaylord
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                             CERTIFICATE OF SERVICE

              I hereby certify that I electronically filed the foregoing with the

        Clerk of the Court using the CM/ECF system, which will provide

        electronic notification to all counsel of record in this matter.

              This the 1st day of April, 2024.

                                                    /s/ Ryan M. Gaylord
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